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                                    By Lorraine McNerney at 4:54 pm, Feb 11, 2021




                                                      Stanley R. Chesler

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           CASE NUMBER: 21-_143(SRC)___

            United States District Court
              District of New Jer$ey

           UNITED STATES OF AMERICA

                               v.

                  HATEM GHOUNEIM

                  INDICTMENT FOR
                        18 u.s.c. § 1343
                     18 U.S.C. § 1028A{a)(l)

                          A True Bill,




                      RACHAEL A. HONIG
                      ACTING U.S. ATTORNEY
                      NEWARK, NEW JERSEY

                        ANDREW MACURDY
                     ASSISTANT U.S. ATTORNEY'
                          (973) 297-2020
                            USA-48AD 8
                             (Ed. 1/97)
